444 F.2d 254
    NATIONAL LABOR RELATIONS BOARD, Petitioner,v.The CARPENTERS DISTRICT COUNCIL OF NEW ORLEANS &amp; VICINITY and Carpenters Local Union No. 1846, Respondents.
    No. 30824 Summary Calendar.**
    United States Court of Appeals, Fifth Circuit.
    July 1, 1971.
    
      Application for enforcement of an order of the National Labor Relations Board.
      Marcel Mallet-Prevost, Asst. Gen. Counsel, N.L.R.B., Washington, D. C., Charles M. Paschal, Jr., Director, Region 15, N.L.R.B., New Orleans, La., Arnold Ordman, Gen. Counsel, Dominick L. Manoli, Associate Gen. Counsel, Abigail Cooley Baskir, Stephen H. Naiman, Attys., N.L.R.B., Washington, D. C., for petitioner.
      Victor H. Hess, Jr., Jackson &amp; Hess, New Orleans, La., for respondents.
      Before JOHN R. BROWN, Chief Judge, and INGRAHAM and RONEY, Circuit Judges.
      PER CURIAM:
    
    Enforced. See Local Rule 21.1
    
      
        Notes:
      
      
        **
         Rule 18, 5th Cir.; see Isbell Enterprises, Inc. v. Citizens Casualty Co. of New York et al., 5th Cir. 1970, 431 F.2d 409, Part I
      
      
        1
         See NLRB v. Amalgamated Clothing Workers of America, 5th Cir., 1970, 430 F.2d 966
      
    
    